Case 1:20-cr-00089-JB-B Document 160 Filed 04/29/21 Page 1 of 2                    PageID #: 529




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                       *
                                                 *
                                                 *
                                                 *         CRIMINAL CASE NO.: 20-CR-89
 vs.                                             *
                                                 *
                                                 *
 MARK W. COOPER,
                                                 *
       Defendant.                                *

                                   MOTION TO WITHDRAW

         COMES NOW, the undersigned counsel for Defendant, MARK W. COOPER, and
hereby files this motion to withdraw as counsel as follows:
   1. Counsel was appointed via CJA panel after CJA Panel attorney Fred Helmsing, Esq.

         withdrew. There is no trial date.

   2. As the Court is aware, Defendant previously requested that undersigned counsel withdraw,

         as he did not believe counsel was working in Defendant’s best interest. A hearing was held

         regarding same. Defendant ultimately withdrew the request for new counsel.

   3. Since that time, the attorney-client relationship and trust have diminished to the point

         where they cannot be repaired. Defendant has repeatedly requested that counsel withdraw.

         Moreover, counsel has experienced interference from Defendant’s family.

   4. As such, Counsel seeks to withdraw. Without breaching the attorney-client privilege,
         counsel can further explain, if so needed.



                                               /s/Thomas B. Walsh
                                               THOMAS B. WALSH (WAL165)
                                               Walshlaw40@gmail.com
                                               Attorney for Defendant

                                             Page 1 of 2
Case 1:20-cr-00089-JB-B Document 160 Filed 04/29/21 Page 2 of 2                  PageID #: 530




WALSH LAW, LLC
1111 Dauphin Street
Mobile, Alabama 36604
(251) 654-1506




                                  CERTIFICATE OF SERVICE
       I hereby certify that on 4/29/21, the foregoing document was electronically filed with the
Clerk of this Court using the CM/ECF system which will send notification of such filing to the
following:

       Gloria Bedwell, Esq.
       United States Attorney's Office
       63 South Royal Street
       Mobile, AL 36602

       Via 1st Class U.S. Mail:
       Defendant Mark W. Cooper
       Baldwin County Jail
       200 Hand Ave.
       Bay Minette, AL 36507

                                             /s/ Thomas   B. Walsh
                                            COUNSEL




                                          Page 2 of 2
